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                                                               The Honorable Richard A. Jones




                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE

In re: the Application of:                          Case No.: 2:24-cv-01745-RAJ
PRASANNA SANKARANARAYANAN,
              Petitioner,
                                                    [PROPOSED] STIPULATED ORDER
      v.                                            RE: SCHEDULING
DHIVYA SASHIDHAR,
              Respondent.


                 The Convention on the Civil Aspects of International Child Abduction
                                 Done at the Hague on 25 Oct 1980
                  International Child Abduction Remedies Act, 22 USC § 9001 et seq.


       COMES NOW, Respondent Dhivya Sashidhar, by and through her attorneys of
record, Katrina Seipel, Katelyn Skinner, and Buckley Law, PC, and Petitioner Prasanna
Sankaranarayanan, by and through his attorneys of record, Richard Min and Green Kaminer
Min & Rockmore LLP, as Respondent requested slight changes to the prior scheduling order
due to the hospitalization of her counsel’s child, causing a brief delay, and upon consent of
both parties as evidence by the signatures of their respective counsel below, it is hereby:
       1. ORDERED, that the schedule for document exchange and deadlines in this
           matter now reflect the following:


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            a. The parties shall exchange discovery by December 20, 2024, 11:59 pm
                (PST).
            b. Petitioner’s expert rebuttal report is due by December 24, 2024, 11:59 pm
                (PST).
            c. The parties shall exchange exhibits, exhibit lists, and witness lists by
                December 23, 2024, 11:59 pm (PST).
            d. The parties shall exchange objections to exhibits by December 26, 2024,
                11:59 pm (PST).
            e. The parties shall file any Motions in Limine with the court by December
                26, 2024, 11:59 pm (PST).
            f. The parties shall file their respective Trial Briefs with the court on
                December 27, 2024. 11:59 pm (PST). This deadline remains unchanged.
            g. The exhibit lists, exhibits, and witness lists are due to the court on
                December 30, 2024, 11:59 pm (PST). This deadline remains unchanged
            h. Responses to objections to exhibits are due to the court on December 30,
                2024, 11:59 pm (PST). This deadline remains unchanged.
            i. Responses to Motions in Limine are due to the court on December 30,
                2024, 11:59 pm (PST). This deadline remains unchanged.


      Dated this 23rd day of December, 2024.



                                                 A
                                                 The Honorable Richard A. Jones
                                                 United States District Judge




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